 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.4981 Page 1 of 39



 1 Allison H. Goddard (211098)
   ali@pattersonlawgroup.com
 2 PATTERSON LAW GROUP
   402 West Broadway, 29th Floor
 3 San Diego, CA 92101
   Telephone: (619) 398-4760
 4
   Facsimile: (619) 756-6991
 5
     Attorney for Defendant,
 6   WI-LAN, INC.
 7   Additional Counsel Listed in Signature Block
 8

 9
                               UNITED STATES DISTRICT COURT
10
                         SOUTHERN DISTRICT OF CALIFORNIA
11

12

13   APPLE INC.,                                    Case No. 3:14-cv-2235-DMS-BLM
                                Plaintiff,          (Consolidated Lead Case)
14

15         v.                                       DEFENDANT WI-LAN INC.’S
     WI-LAN, INC.,                                  SECOND AMENDED ANSWER AND
16
                                                    COUNTERCLAIMS
17                              Defendant.
     _________________________________              DEMAND FOR JURY TRIAL
18

19   WI-LAN, INC.,
20                              Plaintiff,
21         v.
22   APPLE INC.,
23                             Defendant.
24

25

26

27

28

                    DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                               Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.4982 Page 2 of 39



 1         Defendant Wi-LAN, Inc. (“Wi-LAN” or “Defendant”) files this Second Amended
 2   Answer to Plaintiff Apple Inc.’s (“Apple”) Third Amended Complaint (the “complaint”)
 3   for Declaratory Judgment, dated August 4, 2017. Wi-LAN denies that Apple is entitled to
 4   any relief. The statements herein are made upon information and belief. Wi-LAN’s
 5   specific responses to the numbered allegations are set forth below. Except as specifically
 6   admitted herein, Wi-LAN denies any remaining allegation in Apple’s complaint.
 7                                    NATURE OF THE ACTION
 8         1.     Answering the allegations in Paragraph 1, Wi-LAN admits that this is an
 9   action for declaratory judgment of non-infringement, invalidity, and unenforceability of
10   six (6) United States patents pursuant to the Declaratory Judgment Act.
11                                               PARTIES
12         2.     The allegations in Paragraph 2 are not directed to Wi-LAN, and therefore no
13   answer is required.
14         3.     Admitted.
15         4.     Wi-LAN admits that it has engaged in acts in and directed to California, but
16   otherwise denies the allegations of this paragraph.
17                                   JURISDICTION AND VENUE
18         5.     Admitted.
19         6.     Answering the allegations in Paragraph 6, Wi-LAN admits that it is the
20   owner of the patents-in-suit. Wi-LAN also admits that it has accused Apple of infringing
21   the patents-in-suit and that it has requested a meeting with Apple regarding a potential
22   license to the patents-in-suit. Wi-LAN also admits that it has previously initiated lawsuits
23   against Apple. Wi-LAN also admits that a substantial controversy exists between the
24   parties which is of sufficiency immediacy and reality to warrant an action on the patents-
25   in-suit. Wi-LAN denies the remainder of the allegations in this paragraph.
26         7.     Wi-LAN admits that this Court has personal jurisdiction over Wi-LAN. Wi-
27   LAN admits that it has engaged in acts in and directed to California pertaining to the
28   patents-in-suit. Wi-LAN admits that it is the owner of the patents-in-suit and that at least
                                                1
                     DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.4983 Page 3 of 39



 1   some of the inventors and/or former assignees are located in California. Wi-LAN further
 2   admits that it has met with companies in Santa Clara County, including Apple. The
 3   remainder of the allegations in this Paragraph are denied.
 4                                   BACKGROUND OF PARTIES
 5         8.     The allegations in Paragraph 8 are not directed to Wi-LAN, and therefore no
 6   answer is required.
 7         9.     The allegations in Paragraph 9 are not directed to Wi-LAN, and therefore no
 8   answer is required.
 9         10.    Denied.
10         11.    Admitted.
11         12.    Admitted.
12         13.    Answering the allegations in Paragraph 13, Wi-LAN admits that there is an
13   actual case or controversy regarding whether Apple infringes the patents-in-suit. The
14   remainder of the allegations in this Paragraph are denied.
15         14.    Admitted.
16                                      THE PATENTS-IN-SUIT
17         15.    Admitted.
18         16.    Admitted.
19         17.    Admitted.
20         18.    Admitted.
21         19.    Admitted.
22         20.    Admitted.
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
                                               2
                    DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                               Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.4984 Page 4 of 39



 1                                                COUNT I
 2               DECLARATION OF NONINFRINGEMENT OF U.S. PATENT NO.
 3                                            8,457,145
 4         21.    Answering the allegations in Paragraph 21, Wi-LAN incorporates by
 5   reference Paragraphs 1-20 as if fully set forth herein.
 6         22.    Denied.
 7         23.    Answering the allegations in Paragraph 23, Wi-LAN admits that there is an
 8   actual case or controversy regarding whether Apple infringes the patents-in-suit. Wi-
 9   LAN disagrees that a declaration of non-infringement, invalidity, or unenforceability on
10   any of the patents is warranted.
11         24.    Denied.
12                                               COUNT II
13               DECLARATION OF INVALIDITY OF U.S. PATENT NO. 8,457,145
14         25.    Answering the allegations in Paragraph 25, Wi-LAN incorporates by
15   reference Paragraphs 1-24 as if fully set forth herein.
16         26.    Denied.
17         27.    Answering the allegations in Paragraph 27, Wi-LAN admits that there is an
18   actual case or controversy regarding whether Apple infringes the patents-in-suit. Wi-
19   LAN disagrees that a declaration of non-infringement, invalidity, or unenforceability on
20   any of the patents is warranted.
21         28.    Denied.
22                                               COUNT III
23                DECLARATION OF INVALIDITY OF U.S. PATENT NO. 8,462,723
24         29.    Answering the allegations in Paragraph 29, Wi-LAN incorporates by
25   reference Paragraphs 1-28 as if fully set forth herein.
26         30.    Denied.
27         31.    Answering the allegations in Paragraph 31, Wi-LAN admits that there is an
28   actual case or controversy regarding whether Apple infringes the patents-in-suit. Wi-
                                                3
                     DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.4985 Page 5 of 39



 1   LAN disagrees that a declaration of non-infringement, invalidity, or unenforceability on
 2   any of the patents is warranted.
 3         32.    Denied.
 4                                               COUNT IV
 5               DECLARATION OF INVALIDITY OF U.S. PATENT NO. 8,462,723
 6         33.    Answering the allegations in Paragraph 33, Wi-LAN incorporates by
 7   reference Paragraphs 1-32 as if fully set forth herein.
 8         34.    Denied.
 9         35.    Answering the allegations in Paragraph 35, Wi-LAN admits that there is an
10   actual case or controversy regarding whether Apple infringes the patents-in-suit. Wi-
11   LAN disagrees that a declaration of non-infringement, invalidity, or unenforceability on
12   any of the patents is warranted.
13         36.    Denied.
14                                               COUNT V
15                DECLARATION OF INVALIDITY OF U.S. PATENT NO. 8,462,761
16         37.    Answering the allegations in Paragraph 37, Wi-LAN incorporates by
17   reference Paragraphs 1-36 as if fully set forth herein.
18         38.    Denied.
19         39.    Answering the allegations in Paragraph 39, Wi-LAN admits that there is an
20   actual case or controversy regarding whether Apple infringes the patents-in-suit. Wi-
21   LAN disagrees that a declaration of non-infringement, invalidity, or unenforceability on
22   any of the patents is warranted.
23         40.    Denied.
24                                               COUNT VI
25                DECLARATION OF INVALIDITY OF U.S. PATENT NO. 8,462,761
26         41.    Answering the allegations in Paragraph 41, Wi-LAN incorporates by
27   reference Paragraphs 1-40 as if fully set forth herein.
28         42.    Denied.
                                                4
                     DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.4986 Page 6 of 39



 1         43.    Answering the allegations in Paragraph 43, Wi-LAN admits that there is an
 2   actual case or controversy regarding whether Apple infringes the patents-in-suit. Wi-
 3   LAN disagrees that a declaration of non-infringement, invalidity, or unenforceability on
 4   any of the patents is warranted.
 5         44.    Denied.
 6                                              COUNT VII
 7         DECLARATION OF NONINFRINGEMENT OF U.S. PATENT NO.
 8   8,615,020
 9         45.    Answering the allegations in Paragraph 45, Wi-LAN incorporates by
10   reference Paragraphs 1-44 as if fully set forth herein.
11         46.    Denied.
12         47.    Answering the allegations in Paragraph 47, Wi-LAN admits that there is an
13   actual case or controversy regarding whether Apple infringes the patents-in-suit. Wi-
14   LAN disagrees that a declaration of non-infringement, invalidity, or unenforceability on
15   any of the patents is warranted.
16         48.    Denied.
17                                              COUNT VIII
18               DECLARATION OF INVALIDITY OF U.S. PATENT NO. 8,615,020
19         49.    Answering the allegations in Paragraph 49, Wi-LAN incorporates by
20   reference Paragraphs 1-48 as if fully set forth herein.
21         50.    Denied.
22         51.    Answering the allegations in Paragraph 51, Wi-LAN admits that there is an
23   actual case or controversy regarding whether Apple infringes the patents-in-suit. Wi-
24   LAN disagrees that a declaration of non-infringement, invalidity, or unenforceability on
25   any of the patents is warranted.
26         52.    Denied.
27   ///
28   ///
                                                5
                     DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.4987 Page 7 of 39



 1                                               COUNT IX
 2               DECLARATION OF NONINFRINGEMENT OF U.S. PATENT NO.
 3                                            8,537,757
 4         53.    Answering the allegations in Paragraph 53, Wi-LAN incorporates by
 5   reference Paragraphs 1-52 as if fully set forth herein.
 6         54.    Denied.
 7         55.    Answering the allegations in Paragraph 55, Wi-LAN admits that there is an
 8   actual case or controversy regarding whether Apple infringes the patents-in-suit. Wi-
 9   LAN disagrees that a declaration of non-infringement, invalidity, or unenforceability on
10   any of the patents is warranted.
11         56.    Denied.
12                                               COUNT X
13               DECLARATION OF INVALIDITY OF U.S. PATENT NO. 8,537,757
14         57.    Answering the allegations in Paragraph 57, Wi-LAN incorporates by
15   reference Paragraphs 1-56 as if fully set forth herein.
16         58.    Denied.
17         59.    Answering the allegations in Paragraph 59, Wi-LAN admits that there is an
18   actual case or controversy regarding whether Apple infringes the patents-in-suit. Wi-
19   LAN disagrees that a declaration of non-infringement, invalidity, or unenforceability on
20   any of the patents is warranted.
21         60.    Denied.
22                                               COUNT XI
23               DECLARATION OF NONINFRINGEMENT OF U.S. PATENT NO.
24                                            8,311,040
25         61.    Answering the allegations in Paragraph 61, Wi-LAN incorporates by
26   reference Paragraphs 1-60 as if fully set forth herein.
27         62.    Denied.
28
                                                6
                     DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.4988 Page 8 of 39



 1         63.    Answering the allegations in Paragraph 63, Wi-LAN admits that there is an
 2   actual case or controversy regarding whether Apple infringes the patents-in-suit. Wi-
 3   LAN disagrees that a declaration of non-infringement, invalidity, or unenforceability on
 4   any of the patents is warranted.
 5         64.    Denied.
 6                                              COUNT XII
 7               DECLARATION OF INVALIDITY OF U.S. PATENT NO. 8,311,040
 8         65.    Answering the allegations in Paragraph 65, Wi-LAN incorporates by
 9   reference Paragraphs 1-64 as if fully set forth herein.
10         66.    Denied.
11         67.    Answering the allegations in Paragraph 67, Wi-LAN admits that there is an
12   actual case or controversy regarding whether Apple infringes the patents-in-suit. Wi-LAN
13   disagrees that a declaration of non-infringement, invalidity, or unenforceability on any of
14   the patents is warranted.
15         68.    Denied.
16                                              COUNT XIII
17          DECLARATION OF UNENFORCEABILITY DUE TO UNCLEAN HANDS
18         69.    Answering the allegations in Paragraph 69, Wi-LAN incorporates by
19   reference Paragraphs 1-68 as if fully set forth herein.
20         70.    Wi-LAN admits that Apple manufactures and sells products in this action.
21   The remainder of the allegations in this Paragraph are denied.1
22         71.    Denied.
23         72.    Wi-LAN admits that it sued Apple alleging infringement of U.S. Patent No.
24   RE37,802 and Apple was found at the district court not to infringe certain claims. Wi-
25   LAN also admits that it sued Apple alleging infringement of U.S. Patent No. 6,381,211
26
     1
27  In addition to denying Apple’s allegations of “unclean hands,” Apple’s allegation is
   moot as more than two and a half years ago this Court dismissed Apple’s claim for a
28 declaration of unenforceability due to unclean hands as not a legally cognizable theory.
   See Dkt. 96 at 2-5 (December 12, 2014).
                                                7
                     DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.4989 Page 9 of 39



 1   and certain claims were found invalid at the district court. The remainder of the
 2   allegations in this Paragraph are denied.
 3             73.   Denied.
 4             74.   Wi-LAN admits that Telus Corporation brought an ownership dispute against
 5   Wi-LAN on patents that are not in this suit. The remainder of the allegations in this
 6   Paragraph are denied.
 7             75.   Denied.
 8             76.   Denied.
 9             77.   Denied.
10                                          PRAYER FOR RELIEF
11             These paragraphs set forth the statement of relief requested by Plaintiff to which no
12   response is required. Wi-LAN denies that Plaintiff is entitled to any of the requested
13   relief.
14                                              JURY DEMAND
15                   Defendant hereby demands a trial by jury on all issues and claims so triable.
16                                            COUNTERCLAIMS
17                   Without waiver of any rights, Wi-LAN, by and through its counsel, and by
18   way of Counterclaims against Apple, alleges:
19                                               THE PARTIES
20             1.    Wi-LAN, Inc. is a corporation organized and existing under the laws of
21   Canada with its principal place of business at 303 Terry Fox Drive, Ottawa, ON Canada.
22   Wi-LAN, Inc. is referred to herein as “Wi-LAN.”
23             2.    Wi-LAN’s wholly-owned subsidiary, Cygnus Broadband, Inc. (“Cygnus
24             Broadband”), now WiLAN Labs, had its principal place of business at 15090 Ave
25   of Science, San Diego, California. WiLAN Labs has its principal place of business at
26   5962 La Place Ct, Suite 265, Carlsbad, CA 92008.
27             3.    Cygnus Broadband was a company dedicated to developing advanced 4G
28   technologies and products for Wi-LAN and others in the wireless industry that enhance
                                                   8
                        DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                   Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.4990 Page 10 of 39



 1   the capacity, quality of user experience, and connectivity of 4G (and next generation 5G)
 2   mobile devices and networks.
 3         4.     The 4G patents asserted in this action, which are assigned to Wi-LAN (to
 4   hold for the benefit of all Wi-LAN companies and licensees), were developed by Wi-
 5   LAN’s own Ken Stanwood, the CEO of Cygnus Broadband, and his team.
 6         5.     Mr. Stanwood has played a leadership role in the development of 4G
 7   technologies and standards for more than a decade, starting with the industry’s first major
 8   4G cellular initiative, referred to as WiMAX. He served as Vice Chair of the IEEE
 9   802.16 standards committee for WiMAX from 2003-2006 and as principal author of the
10   original IEEE 802.16 standard for 4G cellular networks and mobile devices.
11         6.     Mr. Stanwood has written extensively on 4G technologies, including
12   coauthoring a popular textbook on the subject, and has been awarded 132 U.S. patents,
13   with many more patent applications currently pending before the United States Patent
14   Office and worldwide, many of which relate to 4G technologies.
15         7.     Like Ken Stanwood, Wi-LAN’s founders, Michel Fattouche and Hatim
16   Zaghloul, are widely recognized and acknowledged as wireless industry pioneers. Their
17   technologies, patents and writings have been cited in patents and publications written by
18   thousands of engineers and scientists in the wireless industry.
19         8.     Wi-LAN’s founders sought to achieve−and did achieve−for wireless data
20   what Qualcomm’s founders did for cellular “voice” communication. Qualcomm’s
21   founders developed key CDMA technologies that became the foundational air interface
22   for 2G and 3G cellular networks and mobile devices.
23         9.     Just as importantly, Wi-LAN’s founders developed key cellular “data”
24   technologies, including the W-OFDM air interface, to enable data to be exchanged at
25   desktop speeds over a wireless channel, such as in Wi-Fi networks, or from mobile
26

27

28
                                                9
                     DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.4991 Page 11 of 39



 1   devices in 4G cellular networks. Wi-LAN’s technologies have made Wi-Fi and 4G in
 2   mobile devices possible.2
 3         10.    The Wi-LAN success story is featured in major publications worldwide,
 4   including in such publications as Scientific American3 and Time Magazine,4 and in many
 5   others. Wi-LAN and its founders have also been the subject of numerous industry awards
 6   for their wireless innovations, and for their contribution to the growth in wireless data
 7   capability present in today’s smartphones, tablets, and other mobile devices.
 8         11.    One of Wi-LAN’s co-founders is featured in one of Canada’s leading
 9   business publications as among the Top 100 Canadians of the 20th century for Wi-LAN’s
10   wireless innovations.5 And Wi-LAN’s original wireless designs and first wireless mobile
11   device have been displayed in the Canadian equivalent of the Smithsonian Institution.
12         12.    Enabling high-speed wireless data capability in mobile devices was no small
13   task–it posed incredible challenges–something we take for granted today with desktop
14   speeds now standard in 4G mobile devices.
15         13.    Over the years, Wi-LAN, Cygnus Broadband, and their predecessors have
16   invested hundreds of millions of dollars in developing, making and selling many of the
17   world’s first fixed and mobile devices capable of transmitting and receiving wireless data
18   at desktop speeds.
19
     2
       See, e.g., Ergen, Mustafa, Mobile Broadband: Including WiMAX and LTE, John Wiley
20   & Sons, 2009 at p. 110, Section 4.1 “Principles of OFDM: Introduction” (recognizing one
     of Wi-LAN’s first patents, U.S. Patent No. 5,282,222, to W-OFDM as a major milestone
21   in the development of Wi-Fi and 4G technologies, turning a single lane wireless
     communication channel into a multi-lane super highway, and enabling mobile devices to
22   transmit and receive data at desktop speeds).
     3
23     The Future of Wireless, Scientific American, October 2000 at p. 57 (“To date, wireless
     multiplexing hasn’t been exploited for cellular systems…. That may change soon…. Wi-
24   LAN holds a number of key patents for multiplexing technology known as wideband
     orthogonal frequency division multiplexing, or W-OFDM”).
     4
25     Wi-LAN Shows How to be Successful-and Canadian-in the Global Economy, Time
     Magazine, April 3, 2000.
26   5
       Great Canadians, Maclean’s, July 1, 2000 (“Riding the wave of invention ... Wi-LAN is
27   one of those next generation companies. Its technology may well become the base for
     what some call the coming wireless revolution: the ability to e-mail, surf the Net, adjust
28   the lights in your home and order theater tickets from a cellphone or hand-held
     computer.”)
                                               10
                     DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.4992 Page 12 of 39



 1         14.    Wi-LAN’s 4G products include, among others, the I.WILL, BWS 300,
 2   LIBRA 3000, LIBRA 5800, LIBRA MX, and the LIBRA Mobilis.
 3         15.    Wi-LAN was the first company in the world to build Wi-Fi and 4G data
 4   speeds into mobile devices, with speeds reaching up to 100 megabits per second (Mbps),
 5   and it did so a decade before 4G would become the standard in the wireless industry that it
 6   is today.
 7         16.    Wi-LAN is a company ahead of its time, and through the courage,
 8   perseverance, and tireless efforts of its co-founders (immigrants of modest means when
 9   they started Wi-LAN), the wireless industry that exists today was born, connecting people
10   across the globe like never before.
11         17.    A number of Wi-LAN’s advanced 4G technologies have their origin in work
12   started by Wi-LAN’s Ken Stanwood and his team while at Ensemble Communications
13   (“Ensemble”), another San Diego company that Mr. Stanwood helped grow (then, as
14   Ensemble’s Chief Technology Officer) to over 200 engineers, scientists, and support
15   personnel.
16         18.    The advanced 4G technologies developed by Mr. Stanwood and his team
17   were employed in the network stacks utilizing the 4G WiMAX cellular standard, and were
18   subsequently adopted for use in the network stacks utilizing the 4G LTE cellular standard
19   used in today’s 4G mobile devices.
20         19.    These advanced 4G technologies, developed by Ken Stanwood and his team,
21   include:
22                (i)      the bandwidth-on-demand and periodic bandwidth services built into
23   4G mobile devices to enable apps installed on such devices to have exactly the bandwidth
24   they need, when they need it, in real-time;
25                (ii)     the multi-tasking and app management technologies in 4G mobile
26   devices that enable such devices to run multiple apps simultaneously, including
27   foreground and background apps, without degrading the user experience; and
28
                                                  11
                        DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                   Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.4993 Page 13 of 39



 1                (iii)   the adaptive modulation capabilities in 4G mobile devices that allow
 2   such devices to operate in all kinds of variable wireless conditions due to interference,
 3   noise, and user mobility.
 4         20.    The efforts of Mr. Stanwood and his team in developing these advanced 4G
 5   technologies have enabled 4G mobile devices to support a variety of services popular
 6   among users of Apple 4G LTE mobiles devices, such as voice, conversational video, live
 7   streaming of video and music, real-time gaming, video and photo sharing, email, and
 8   instant messaging, all in the palm of your hand (“4G Network Services”).
 9         21.    Apple Inc. (“Apple”) is a corporation organized and existing under the laws
10   of the State of California, with its principal place of business at 1 Infinite Loop,
11   Cupertino, California.
12         22.    Wi-LAN’s advanced 4G technologies that are the subject of the patents
13   asserted in this action enable Apple’s 4G LTE smartphones, tablets, and other 4G LTE
14   mobile devices to provide Apple users with the 4G Network Services that have made
15   Apple’s products so popular, and to operate with desktop speeds anywhere, anytime.
16         23.    Wi-LAN’s wireless technologies and patents, including its advanced 4G
17   technologies, have been licensed by nearly all companies in the wireless industry,
18   comprising more than 130 companies. Apple is the only major company that has not
19   respected Wi-LAN’s intellectual property and its contribution to the growth and success
20   of the wireless industry.
21         24.    Apple’s infringement gives Apple an unfair advantage over its competitors,
22   all of whom have chosen to do the right thing and license their use of Wi-LAN’s wireless
23   technologies and patents.
24         25.    All of Apple’s major competitors in the mobile device industry, including
25   Samsung, HTC, LG, Nokia, RIM, and Motorola have licensed Wi-LAN’s wireless
26   technologies and patents. To encourage licensing of Wi-LAN’s technologies and patents
27   in mobile devices and growth of the wireless industry, Wi-LAN has set its licensing rates
28
                                               12
                     DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.4994 Page 14 of 39



 1   at a fraction of the rates that Apple charges companies for use of Apple’s technologies and
 2   patents.
 3            26.   Wi-LAN has made numerous efforts to license the unauthorized use of its
 4   wireless technologies and patents by Apple, but Apple has consistently refused to take a
 5   license, choosing to use Wi-LAN’s 4G technologies without paying anything for that
 6   right.
 7            27.   Apple has willfully chosen to not respect the intellectual property of Wi-
 8   LAN, including the six 4G patents asserted in this action directed to Wi-LAN’s advanced
 9   4G technologies, and it does so despite understanding the importance of intellectual
10   property and insisting that other companies respect Apple’s own intellectual property.
11            28.   Indeed, Apple has vigorously pursued litigations and patent enforcement
12   proceedings against anyone it believes is using Apple’s patented technology without a
13   license. For example, from 2011 through 2014 Apple prosecuted massive and well
14   publicized litigations against Samsung for various Apple patents, and Apple was awarded
15   hundreds of millions of dollars in damages for five of its user interface patents on
16   inventions as simple as the “bounce-back” feature of its touch screen iPhones and the
17   curved shape of the corners of the icons used in its displays.
18            29.   In its patent litigations against Samsung, Apple asked Samsung for as much
19   as $40 per mobile device for use of its five interface patents–elements that may subtly
20   differentiate Apple’s products from its competitors but that do not touch on the
21   fundamental wireless data communication technologies, including Wi-LAN’s Wi-Fi and
22   4G technologies and patents, that underlie and make possible all of the core functions of
23   Apple’s mobile devices that have made them so desirable to consumers.
24            30.   Wi-LAN is not the only company that has had to deal with Apple’s
25   disrespect for the intellectual property rights of others. Many well-known and well
26   respected companies in the wireless industry, including Samsung, Nokia, Motorola
27   Mobility, HTC, Eastman Kodak, and Pitney-Bowes have had to sue Apple for alleged
28
                                                13
                      DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                 Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.4995 Page 15 of 39



 1   infringement of their patented technologies and use of their patented technologies without
 2   paying for that right.
 3           31.   Notably, when Apple’s co-founder Steve Jobs discussed Apple’s success in a
 4   PBS documentary entitled “Triumph of the Nerds,” he said, “We have always been
 5   shameless about stealing great ideas.”
 6           32.   In early meetings between Wi-LAN and Apple, years before Apple would
 7   introduce its 4G LTE mobile devices, Wi-LAN presented Apple with a detailed blueprint
 8   of Wi-LAN’s wireless technologies and how they would enable Apple’s computers and
 9   mobile devices to provide 4G Network Services, such as streaming movies and videos,
10   sharing pictures, surfing the internet, and chatting online with friends.6
11           33.   Apple arrogantly dismissed Wi-LAN’s wireless technologies and vision at
12   the time, believing that if it was not invented by Apple it was not possible.
13           34.   Yet today, after Wi-LAN has proven the promise of its wireless technologies
14   to the world, Apple is riding the wave in growth of the wireless industry, in particular
15   with its 4G LTE smartphones, tablets, and other 4G LTE mobile devices that use Wi-
16   LAN’s great ideas, including Wi-LAN’s advanced 4G capabilities, and Apple is making
17   billions of dollars in profits doing so.
18           35.   Before initiating litigation, Wi-LAN made substantial efforts for more than a
19   year to license Apple’s use of Wi-LAN’s advanced 4G technologies and patents in its 4G
20   LTE mobile devices, expecting that Apple would proceed in good faith, which it has not
21   done.
22           36.   Most recently, in a written communication to Apple on June 16, 2014, Wi-
23   LAN requested a meeting with Apple to resolve this matter and Wi-LAN provided
24

25

26   6
     See The Future of Wireless Data Communications, Network Living, Wi-LAN 1999
27 Annual  Report at 9-33 (“This is no longer a remote possibility-the technology needed to
   make this reality is available… where we all live with the ease of wireless communication
28 in our everyday tasks; anytime, anywhere, to anyone. And its WOFDM technology that
   will fuel this new way of life.”)
                                               14
                     DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.4996 Page 16 of 39



 1   significant details concerning the relevance of the 4G patents asserted herein to Apple’s
 2   4G LTE mobile devices.
 3          37.    Three days later, on June 19, 2014, rather than provide dates for a meeting,
 4   Apple initiated litigation against Wi-LAN in the Northern District of California involving
 5   five of the 4G patents asserted in this action in a clear attempt at gamesmanship to remove
 6   this matter from this Court, which was at the time handling a related dispute between the
 7   parties involving overlapping 4G patents and technologies and Apple 4G LTE products.
 8          38.    Apple’s actions have forced Wi-LAN’s hand, leaving it with no choice but to
 9   protect its intellectual property through litigation.
10                                      NATURE OF THE ACTION
11          39.    This is an action for patent infringement arising under the Patent Laws of the
12   United States, including 35 U.S.C. § 271.
13          40.    Apple has committed acts of patent infringement within this district. Apple,
14   directly or through intermediaries, imports, manufactures, uses, sells, and/or offers to sell
15   infringing products within this district. Apple also purposely and voluntarily places
16   infringing products into the stream of commerce with the expectation that they will be
17   purchased by consumers in this district. Apple reasonably should have anticipated being
18   subject to suit in this district. Apple’s acts of patent infringement are aimed at this district
19   and/or have effect in this district.
20          41.    This is a civil action in which Wi-LAN seeks damages and other relief
21   against Apple for acts of patent infringement in violation of the Patent Laws of the United
22   States, 35 U.S.C. §§ 271 et seq.
23                                      JURISDICTION AND VENUE
24          42.    This Court has subject matter jurisdiction of the federal question claims
25   raised in this Complaint pursuant to 28 U.S.C. §§ 1331 and 1338(a). 43.
26          43.    Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391 and 1400(b), in
27   that the acts and transactions complained of herein were conceived, carried out, made
28   effective, or had effect within the State of California and within this district, among other
                                                15
                      DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                 Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.4997 Page 17 of 39



 1   places. Apple conducts business activities in this district, including regularly doing or
 2   soliciting business, engaging in conduct and/or deriving substantial revenue from goods
 3   and services provided to consumers in the State of California and in this district.
 4          44.    The Court has personal jurisdiction over Apple. Apple: (a) has operated,
 5   conducted, engaged in, and/or carried on a business or business venture in California and
 6   this district; (b) has at least an office or agent in California and this district; (c) has
 7   committed one or more tortious acts within California and this district; and (d) has been
 8   and is engaged in substantial and not isolated activity within California and this district.
 9          45.    Apple has been registered to do business in the State of California since 1977
10   and currently has a registered agent in the State of California.
11                                          APPLE’S PRODUCTS
12          46.    Apple directly or indirectly through subsidiaries or affiliated companies
13   markets, distributes, manufactures, imports, sells, and/or offers for sale wireless
14   communication products, such as products compliant with the 3rd Generation Partnership
15   Project (“3GPP”) 4G LTE standard for Voice over LTE (“VoLTE”), including but not
16   limited to the iPhone 7, iPhone 7 Plus, iPhone 6s, iPhone 6s Plus, iPhone SE, iPhone 6,
17   iPhone 6 Plus (“VoLTE phones”), as well as other products which are reasonably similar
18   in structure and/or operation, in the United States and in this district. Apple’s products
19   support at least Release 8, et seq. of the 4G LTE standard.
20          47.    Upon information and belief, Apple’s products also include software and
21   associated hardware that prioritize the transmission of data generated by various
22   applications that run on these Apple products, and in doing such prioritization utilize the
23   claimed inventions of the patents asserted in this action.
24                      FIRST COUNTERCLAIM: INFRINGEMENT OF
25                                   U.S. PATENT NO. 8,457,145
26          48.    The allegations of all foregoing paragraphs are re-alleged as if fully set forth
27   herein.
28
                                                16
                      DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                 Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.4998 Page 18 of 39



 1         49.    On June 4, 2013, the United States Patent and Trademark Office (“USPTO”)
 2   duly and legally issued U.S. Patent No. 8,457,145 (the “’145 patent”), entitled “Method
 3   and apparatus for bandwidth request/grant protocols in a wireless communication system”
 4   after a full and fair examination.
 5         50.    The ’145 patent relates to, among other things, multitasking and management
 6   of apps using periodic bandwidth requests.
 7         51.    Wi-LAN, Inc. is the sole owner of the ’145 patent. A true and correct copy
 8   of the ’145 patent has been filed at D.I. 59-1.
 9         52.    Apple has been and is now infringing, literally and/or under the doctrine of
10   equivalents, the ’145 patent in this district and elsewhere by making, using, offering for
11   sale, importing, and/or selling, without authority from Wi-LAN, products that fall within
12   the scope of one or more of the claims of the ’145 patent.
13         53.    Apple had actual notice of the ’145 patent and that its actions constitute
14   direct and indirect infringement of the ’145 patent. The most recent written
15   communication to Apple providing notice of its infringement is dated June 16, 2014.
16         54.    Apple has been and is now indirectly infringing at least one claim of the ’145
17   patent in accordance with 35 U.S.C. § 271(b) in this district and elsewhere in the United
18   States. More specifically, Apple has been and is now actively inducing direct
19   infringement by other persons – i.e. Apple’s customers who use, sell or offer for sale
20   products that embody and/or otherwise practice one or more claims of the ’145 patent.
21   Apple had knowledge of the ’145 patent, and that its actions resulted in a direct
22   infringement of the ’145 patent, prior to the filing of this complaint, and knew or was
23   willfully blind that its actions would induce direct infringement by others and intended
24   that its actions would induce direct infringement by others.
25         55.    Apple actively induces such infringement by, among other things, providing
26   user manuals and other instruction material for Apple’s devices that induce Apple’s
27   customers to use Apple’s devices in their normal and customary way to infringe the ’145
28
                                               17
                     DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.4999 Page 19 of 39



 1   patent.7 Through its manufacture and sales of its devices, Apple specifically intended its
 2   customers to infringe the ’145 patent. Further, Apple was aware that these normal and
 3   customary activities would infringe the ’145 patent. Apple performed the acts that
 4   constitute induced infringement, and that would induce actual infringement, with
 5   knowledge of the ’145 patent and with the knowledge or willful blindness that the induced
 6   acts would constitute direct infringement.
 7         56.    Accordingly, a reasonable inference is that Apple specifically intends for
 8   others, such as its customers, to directly infringe one or more claims of the ’145 patent in
 9   the United States because Apple has knowledge of the ’145 patent and Apple actively
10   induces others (i.e. its customers) to directly infringe the ’145 patent by using, selling, or
11   offering to sell Apple’s devices.
12         57.    Apple has been and is now indirectly infringing at least one claim of the ’145
13   patent in accordance with 35 U.S.C. § 271(c) in this district and elsewhere in the United
14   States. More specifically, Apple has been and is now providing non-staple articles of
15   commerce to others for use in an infringing system or method with knowledge of the ’145
16   patent, and with knowledge that the use of its products resulted in a direct infringement of
17   the ’145 patent by its customers, and with knowledge that these non-staple articles of
18   commerce are used as a material part of the claimed invention of the ’145 patent.
19         58.    Apple’s devices compliant with 4G LTE include components comprising an
20   application processor and a baseband processor specifically designed to support
21   communication and transmission of data over 4G LTE-compliant networks. These
22

23   7
       See, e.g., Apple’s website for the iPhone, https://www.apple.com/iphone/compare/
24   (instructing use on 4G LTE networks); iPhone User Guide For iOS 7.1 Software,
     http://manuals.info.apple.com/MANUALS/1000/MA1565/en_US/iphone_user_guide. pdf
25   (instructing use on 4G LTE networks); iPhone User Guide For iOS 6.1 Software,
     http://manuals.info.apple.com/MANUALS/1000/MA1658/en_US/iphone_ios6_user_guid
26   e.pdf (instructing use on 4G LTE networks); Apple’s website for the iPad,
     https://www.apple.com/ipad/compare/ (instructing use on 4G LTE networks); iPad User
27   Guide For iOS 7.1 Software,
     http://manuals.info.apple.com/MANUALS/1000/MA1595/en_US/ipad_user_guide.pdf
28   (instructing use on 4G LTE networks); http://support.apple.com/kb/ht4211 (instructing
     use of multitasking).
                                               18
                     DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.5000 Page 20 of 39



 1   components are mounted to a circuit board in Apple’s accused devices and, absent these
 2   components, Apple’s devices compliant with 4G LTE would not function in an acceptable
 3   manner to send or receive data over 4G LTE networks. A reasonable inference to be
 4   drawn from the facts set forth is that these components in Apple’s devices are especially
 5   made or especially adapted to operate in the accused Apple devices to provide wireless
 6   communication, including the transmission of data in accordance with the 4G LTE
 7   standard. Further, a reasonable inference to be drawn from the facts is that these
 8   components comprising an application processor and a baseband processor are intended to
 9   support communication of data over a 4G LTE network and are not staple articles or
10   commodities of commerce, and that the use of the components is required for operation of
11   the Apple devices to send or receive data over a 4G LTE-compliant network. Any other
12   use would be unusual, far-fetched, illusory, occasional, aberrant, or experimental.
13         59.    The components comprising an application processor and a baseband
14   processor designed to support communication of data using 4G LTE in Apple’s devices
15   are each a material part of the invention of the ’145 patent and are especially made for the
16   infringing manufacture, sale, and use of Apple’s accused devices. Apple’s devices,
17   including those components, are especially made or adapted to infringe the ’145 patent,
18   and have no substantial non-infringing uses.
19         60.    The ’145 patent is valid and enforceable.
20         61.    By way of its infringing activities, Apple has caused and continues to cause
21   Wi-LAN to suffer damages, and Wi-LAN is entitled to recover from Apple damages in an
22   amount to be determined at trial.
23                       SECOND COUNTERCLAIM: INFRINGEMENT OF
24                                       U.S. PATENT NO. 8,462,723
25         62.    The allegations of all foregoing paragraphs are re-alleged as if fully set forth
26   herein.
27

28
                                               19
                     DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.5001 Page 21 of 39



 1         63.    On June 11, 2013, the USPTO duly and legally issued U.S. Patent No.
 2   8,462,723 (the “’723 patent”), entitled “Methods and systems for transmission of multiple
 3   modulated signals over wireless networks” after a full and fair examination.
 4         64.    The ’723 patent relates to, among other things, multitasking and management
 5   of apps using non-contention bandwidth-on-demand requests.
 6         65.    Wi-LAN, Inc. is the sole owner of the ’723 patent. A true and correct copy
 7   of the ’723 patent has been filed at D.I. 59-2.
 8         66.    Apple has been and is now infringing, literally and/or under the doctrine of
 9   equivalents, the ’723 patent in this district and elsewhere by making, using, offering for
10   sale, importing, and/or selling, without authority from Wi-LAN, products that fall within
11   the scope of one or more of the claims of the ’723 patent.
12         67.    Apple had actual notice of the ’723 patent and that its actions constitute
13   direct and indirect infringement of the ’723 patent. The most recent written
14   communication to Apple providing notice of its infringement is dated June 16, 2014.
15         68.    Apple has been and is now indirectly infringing at least one claim of the ’723
16   patent in accordance with 35 U.S.C. § 271(b) in this district and elsewhere in the United
17   States. More specifically, Apple has been and is now actively inducing direct
18   infringement by other persons – i.e. Apple’s customers who make, use, sell or offer for
19   sale products that embody and/or otherwise practice one or more claims of the ’723
20   patent. Apple had knowledge of the ’723 patent, and that its actions resulted in a direct
21   infringement of the ’723 patent, prior to the filing of this complaint, and knew or was
22   willfully blind that its actions would induce direct infringement by others and intended
23   that its actions would induce direct infringement by others.
24         69.    Apple actively induces such infringement by, among other things, providing
25   user manuals and other instruction material for Apple’s devices that induce Apple’s
26   customers to use Apple’s accused devices in their normal and customary way to infringe
27

28
                                               20
                     DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.5002 Page 22 of 39



 1   the ’723 patent.8 Through its manufacture and sales of its accused devices, Apple
 2   specifically intended its customers to infringe the ’723 patent. Further, Apple was aware
 3   that these normal and customary activities would infringe the ’723 patent. Apple
 4   performed the acts that constitute induced infringement, and would induce actual
 5   infringement, with the knowledge of the ’723 patent and with the knowledge or willful
 6   blindness that the induced acts would constitute direct infringement.
 7         70.      Accordingly, a reasonable inference is that Apple specifically intends for
 8   others, such as its customers, to directly infringe one or more claims of the ’723 patent in
 9   the United States because Apple has knowledge of the ’723 patent and Apple actively
10   induces others (i.e. its customers) to directly infringe the ’723 patent by using, selling, or
11   offering to sell Apple’s devices.
12         71.      Apple has been and is now indirectly infringing at least one claim of the ’723
13   patent in accordance with 35 U.S.C. § 271(c) in this district and elsewhere in the United
14   States. More specifically, Apple has been and is now providing non-staple articles of
15   commerce to others for use in an infringing system or method with knowledge of the ’723
16   patent, and with knowledge that the use of its accused products results in a direct
17   infringement of the ’723 patent by its customers, and with knowledge that these non-
18   staple articles of commerce are used as a material part of the claimed invention of the
19   ’723 patent.
20         72.      Apple’s accused devices include components comprising an application
21   processor and a baseband processor designed to support communication of data on 4G
22
     8
23     See, e.g., Apple’s website for the iPhone, https://www.apple.com/iphone/compare/
     (instructing use on 4G LTE networks); iPhone User Guide For iOS 7.1 Software,
24   http://manuals.info.apple.com/MANUALS/1000/MA1565/en_US/iphone_user_guide.pdf
     (instructing use on 4G LTE networks); iPhone User Guide For iOS 6.1 Software,
25   http://manuals.info.apple.com/MANUALS/1000/MA1658/en_US/iphone_ios6_user_guid
     e.pdf (instructing use on 4G LTE networks); Apple’s website for the iPad,
26   https://www.apple.com/ipad/compare/ (instructing use on 4G LTE networks); iPad User
     Guide For iOS 7.1 Software,
27   http://manuals.info.apple.com/MANUALS/1000/MA1595/en_US/ipad_user_guide.pdf
     (instructing use on 4G LTE networks); http://support.apple.com/kb/ht4211
28
     (instructing use of multitasking).
                                                21
                      DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                 Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.5003 Page 23 of 39



 1   LTE-compliant networks. These components are mounted to a circuit board in Apple’s
 2   accused devices and, absent these components, Apple’s accused devices would not
 3   function in an acceptable manner to send or receive data over 4G LTE-compliant
 4   networks. A reasonable inference to be drawn from the facts set forth is that these
 5   components in Apple’s accused devices are especially made or especially adapted to
 6   provide wireless communication, including the transmission of data, in 4G LTE-
 7   compliant networks. Further, a reasonable inference to be drawn from the facts is that
 8   these components are not staple articles or commodities of commerce, and that the use of
 9   these components is required for operation of the Apple devices to send or receive data in
10   a 4G LTE-compliant network. Any other use would be unusual, farfetched, illusory,
11   occasional, aberrant, or experimental.
12         73.    The components comprising the application processor and the baseband
13   processor in Apple’s accused devices are each a material part of the invention of the ’723
14   patent and are especially made for use in devices that infringe one or more claims of the
15   ’723 patent. Apple’s accused devices have no substantial non-infringing uses.
16         74.    The ’723 patent is valid and enforceable.
17         75.    By way of its infringing activities, Apple has caused and continues to cause
18   Wi-LAN to suffer damages, and Wi-LAN is entitled to recover from Apple damages in an
19   amount to be determined at trial.
20                        THIRD COUNTERCLAIM: INFRINGEMENT OF
21                                       U.S. PATENT NO. 8,537,757
22         76.    The allegations of all foregoing paragraphs are re-alleged as if fully set forth
23   herein.
24         77.    On June 11, 2013, the USPTO duly and legally issued U.S. Patent No.
25   8,537,757 (the “’757 patent”), entitled “Method and system for adaptively obtaining
26   bandwidth allocation requests” after a full and fair examination.
27         78.    The ’757 patent relates to, among other things, adaptive modulation for
28   variable condition wireless channels due to interference, noise, and mobility.
                                              22
                    DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                               Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.5004 Page 24 of 39



 1         79.    Wi-LAN, Inc. is the sole owner of the ’757 patent. A true and correct copy
 2   of the ’757 patent has been filed at D.I. 59-6.
 3         80.    Apple has been and is now infringing, literally and/or under the doctrine of
 4   equivalents, the ’757 patent in this district and elsewhere by making, using, offering for
 5   sale, importing, and/or selling, without authority from Wi-LAN, products that fall within
 6   the scope of one or more of the claims of the ’757 patent.
 7         81.    Apple had actual notice of the ’757 patent and that its actions constitute
 8   direct and indirect infringement of the ’757 patent. The most recent written
 9   communication to Apple providing notice of its infringement is dated June 16, 2014.
10         82.    Apple has been and is now indirectly infringing at least one claim of the ’757
11   patent in accordance with 35 U.S.C. § 271(b) in this district and elsewhere in the United
12   States. More specifically, Apple has been and is now actively inducing direct
13   infringement by other persons – i.e. Apple’s customers who use, sell or offer for sale
14   products that embody and/or otherwise practice one or more claims of the ’757 patent.
15   Apple had knowledge of the ’757 patent by others, and that its actions resulted in a direct
16   infringement of the ’757 patent, prior to the filing of this complaint, and knew or was
17   willfully blind that its actions would induce direct infringement by others and intended
18   that its actions would induce direct infringement by others.
19         83.    Apple actively induces such infringement by, among other things, providing
20   user manuals and other instruction material for Apple’s devices that induce Apple’s
21   customers to use Apple’s devices in their normal and customary way to infringe the ’757
22   patent.9 Through its manufacture and sales of its devices, Apple specifically intended its
23
     9
       See, e.g., Apple’s website for the iPhone, https://www.apple.com/iphone/compare/
24   (instructing use on 4G LTE networks); iPhone User Guide For iOS 7.1 Software,
     http://manuals.info.apple.com/MANUALS/1000/MA1565/en_US/iphone_user_guide.pdf
25   (instructing use on 4G LTE networks); iPhone User Guide For iOS 6.1 Software,
     http://manuals.info.apple.com/MANUALS/1000/MA1658/en_US/iphone_ios6_user_guid
26   e.pdf (instructing use on 4G LTE networks); Apple’s website for the iPad,
     https://www.apple.com/ipad/compare/ (instructing use on 4G LTE networks); iPad User
27   Guide For iOS 7.1 Software,
     http://manuals.info.apple.com/MANUALS/1000/MA1595/en_US/ipad_user_guide.pdf
28   (instructing use on 4G LTE networks); http://support.apple.com/kb/ht4211 (instructing
     use of multitasking).                         23
                     DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.5005 Page 25 of 39



 1   customers to infringe the ’757 patent. Further, Apple was aware that these normal and
 2   customary activities when undertaken by its customer would result in a direct
 3   infringement of the ’757 patent. Apple performed the acts that constitute induced
 4   infringement, and that would induce actual infringement, with the knowledge of the ’757
 5   patent and with the knowledge or willful blindness that the induced acts would constitute
 6   direct infringement.
 7         84.    Accordingly, a reasonable inference is that Apple specifically intends for
 8   others, such as its customers, to directly infringe one or more claims of the ’757 patent in
 9   the United States because Apple has knowledge of the ’757 patent and Apple actively
10   induces others (i.e. its customers) to directly infringe the ’757 patent by using, selling, or
11   offering to sell Apple’s devices.
12         85.    Apple has been and is now indirectly infringing at least one claim of the ’757
13   patent in accordance with 35 U.S.C. § 271(c) in this district and elsewhere in the United
14   States. More specifically, Apple has been and is now providing non-staple articles of
15   commerce to others for use in an infringing system or method with knowledge of the ’757
16   patent, and with knowledge that the use of its products results in a direct infringement of
17   the ’757 patent by its customers, and with knowledge that these non-staple articles of
18   commerce are used as a material part of the claimed invention of the ’757 patent.
19         86.    Apple’s devices include components comprising an application processor and
20   a baseband processor designed to support communication of data in an LTE compliant
21   network. These components are mounted to a circuit board in Apple’s accused devices
22   and, absent these components, Apple’s accused devices would not function in an
23   acceptable manner to send or receive data in a 4G LTE-compliant network. A reasonable
24   inference to be drawn from the facts set forth is that these components in Apple’s accused
25   devices are especially made or especially adapted to operate in a manner that results in a
26   direct infringement of the ’757 patent. Further, a reasonable inference to be drawn from
27   the facts is that the components are not a staple articles or commodities of commerce and
28   that the use of the components is required for the accused Apple devices to send or
                                               24
                     DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.5006 Page 26 of 39



 1   receive data in a 4G LTE-compliant network. Any other use would be unusual, far-
 2   fetched, illusory, occasional, aberrant, or experimental.
 3         87.    The components comprising an application processor and a baseband
 4   processor in Apple’s accused devices are each a material part of the invention of the ’757
 5   patent and are especially made or adapted to infringe the ’757 patent. Apple’s accused
 6   devices products have no substantial uses that do not infringe the ’757 patent.
 7         88.    The ’757 patent is valid and enforceable.
 8         89.    By way of its infringing activities, Apple has caused and continues to cause
 9   Wi-LAN to suffer damages, and Wi-LAN is entitled to recover from Apple damages in an
10   amount to be determined at trial.
11                       FOURTH COUNTERCLAIM: INFRINGEMENT OF
12                                       U.S. PATENT NO. 8,615,020
13         90.    The allegations of all foregoing paragraphs are re-alleged as if fully set forth
14   herein.
15         91.    On December 24, 2013, the USPTO duly and legally issued U.S. Patent No.
16   8,615,020 (the “’020 patent”), entitled “Method and System for Adaptively Obtaining
17   Bandwidth Allocation Requests” after a full and fair examination.
18         92.    The ’020 patent relates to, among other things, multitasking and management
19   of apps using non-contention bandwidth-on-demand requests.
20         93.    Wi-LAN, Inc. is the sole owner of the ’020 patent. A true and correct copy of
21   the ’020 patent has been filed at D.I. 59-5.
22         94.    Apple has been and is now infringing, literally and/or under the doctrine of
23   equivalents, the ’020 patent in this district and elsewhere by making, using, offering for
24   sale, importing, and/or selling, without authority from Wi-LAN, products that fall within
25   the scope of one or more of the claims of the ’020 patent.
26         95.    Apple had actual notice of the ’020 patent and that its actions constitute
27   direct and indirect infringement of the ’020 patent. The most recent written
28   communication to Apple providing notice of its infringement is dated June 16, 2014.
                                               25
                     DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.5007 Page 27 of 39



 1         96.    Apple has been and is now indirectly infringing at least one claim of the ’020
 2   patent in accordance with 35 U.S.C. § 271(b) in this district and elsewhere in the United
 3   States. More specifically, Apple has been and is now actively inducing direct
 4   infringement by other persons – i.e. Apple’s customers who use, sell or offer for sale
 5   products that embody and/or otherwise practice one or more claims of the ’020 patent.
 6   Apple had knowledge of the ’020 patent by others, and that its actions resulted in a direct
 7   infringement of the ’020 patent, prior to the filing of this complaint, and knew or was
 8   willfully blind that its actions would induce direct infringement by others and intended
 9   that its actions would induce direct infringement by others.
10         97.    Apple actively induces such infringement by, among other things, providing
11   user manuals and other instruction material for Apple’s devices that induce Apple’s
12   customers to use Apple’s devices in their normal and customary way to infringe the ’020
13   patent.10 Through its manufacture and sales of its devices, Apple specifically intended its
14   customers to infringe the ’020 patent. Further, Apple was aware that these normal and
15   customary activities when undertaken by its customer would result in a direct
16   infringement of the ’020 patent. Apple performed the acts that constitute induced
17   infringement, and that would induce actual infringement, with the knowledge of the ’020
18   patent and with the knowledge or willful blindness that the induced acts would constitute
19   direct infringement.
20         98.    Accordingly, a reasonable inference is that Apple specifically intends for
21   others, such as its customers, to directly infringe one or more claims of the ’020 patent in
22
     10
23      See, e.g., Apple’s website for the iPhone, https://www.apple.com/iphone/compare/
     (instructing use on 4G LTE networks); iPhone User Guide For iOS 7.1 Software,
24   http://manuals.info.apple.com/MANUALS/1000/MA1565/en_US/iphone_user_guide.pdf
     (instructing use on 4G LTE networks); iPhone User Guide For iOS 6.1 Software,
25   http://manuals.info.apple.com/MANUALS/1000/MA1658/en_US/iphone_ios6_user_guid
     e.pdf (instructing use on 4G LTE networks); Apple’s website for the iPad,
26   https://www.apple.com/ipad/compare/ (instructing use on 4G LTE networks); iPad User
     Guide For iOS 7.1 Software,
27
     http://manuals.info.apple.com/MANUALS/1000/MA1595/en_US/ipad_user_guide.pdf
28   (instructing use on 4G LTE networks); http://support.apple.com/kb/ht4211 (instructing
     use of multitasking).
                                               26
                     DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.5008 Page 28 of 39



 1   the United States because Apple has knowledge of the ’020 patent and Apple actively
 2   induces others (i.e. its customers) to directly infringe the ’020 patent by using, selling, or
 3   offering to sell Apple’s devices.
 4         99.    Apple has been and is now indirectly infringing at least one claim of the ’020
 5   patent in accordance with 35 U.S.C. § 271(c) in this district and elsewhere in the United
 6   States. More specifically, Apple has been and is now providing non-staple articles of
 7   commerce to others for use in an infringing system or method with knowledge of the ’020
 8   patent, and with knowledge that the use of its products results in a direct infringement of
 9   the ’020 patent by its customers, and with knowledge that these non-staple articles of
10   commerce are used as a material part of the claimed invention of the ’020 patent.
11         100. Apple’s devices include components comprising an application processor and
12   a baseband processor designed to support communication of data in a 4G LTE-compliant
13   network. These components are mounted to a circuit board in Apple’s accused devices
14   and, absent these components, Apple’s accused devices would not function in an
15   acceptable manner to send or receive data in a 4G LTE-compliant network. A reasonable
16   inference to be drawn from the facts set forth is that these components in Apple’s accused
17   devices are especially made or especially adapted to operate in a manner that results in a
18   direct infringement of the ’020 patent. Further, a reasonable inference to be drawn from
19   the facts is that the components are not a staple articles or commodities of commerce and
20   that the use of the components is required for the accused Apple devices to send or
21   receive data in a 4G LTE-compliant network. Any other use would be unusual, far-
22   fetched, illusory, occasional, aberrant, or experimental.
23         101. The components comprising an application processor and a baseband
24   processor in Apple’s accused devices are each a material part of the invention of the ’020
25   patent and are especially made or adapted to infringe the ’020 patent. Apple’s accused
26   devices products have no substantial uses that do not infringe the ’020 patent.
27         102. The ’020 patent is valid and enforceable.
28
                                               27
                     DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.5009 Page 29 of 39



 1         103. By way of its infringing activities, Apple has caused and continues to cause
 2   Wi-LAN to suffer damages, and Wi-LAN is entitled to recover from Apple damages in an
 3   amount to be determined at trial.
 4                         FIFTH COUNTERCLAIM: INFRINGEMENT OF
 5                                       U.S. PATENT NO. 8,462,761
 6         104. The allegations of all foregoing paragraphs are re-alleged as if fully set forth
 7   herein.
 8         105. On June 11, 2013, the USPTO duly and legally issued U.S. Patent No.
 9   8,462,761 (the “’761 patent”), entitled “Method and system for adaptively obtaining
10   bandwidth allocation requests” after a full and fair examination.
11         106. The ’761 patent relates to, among other things, multitasking and management
12   of apps using non-contention bandwidth-on-demand requests or periodic bandwidth
13   requests.
14         107. Wi-LAN, Inc. is the sole owner of the ’761 patent. A true and correct copy
15   of the ’761 patent has been filed at D.I. 59-4.
16         108. Apple has been and is now infringing, literally and/or under the doctrine of
17   equivalents, the ’761 patent in this district and elsewhere by making, using, offering for
18   sale, importing, and/or selling, without authority from Wi-LAN, products that fall within
19   the scope of one or more of the claims of the ’761 patent.
20         109. Apple had actual notice of the ’761 patent and that its actions constitute
21   direct and indirect infringement of the ’761 patent. The most recent written
22   communication to Apple providing notice of its infringement is dated June 16, 2014.
23         110. Apple has been and is now indirectly infringing at least one claim of the ’761
24   patent in accordance with 35 U.S.C. § 271(b) in this district and elsewhere in the United
25   States. More specifically, Apple has been and is now actively inducing direct
26   infringement by other persons – i.e. Apple’s customers who use, sell or offer for sale
27   products that embody and/or otherwise practice one or more claims of the ’761 patent.
28   Apple had knowledge of the ’761 patent by others, and that its actions resulted in a direct
                                               28
                     DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.5010 Page 30 of 39



 1   infringement of the ’761 patent, prior to the filing of this complaint, and knew or was
 2   willfully blind that its actions would induce direct infringement by others and intended
 3   that its actions would induce direct infringement by others.
 4         111. Apple actively induces such infringement by, among other things, providing
 5   user manuals and other instruction material for Apple’s devices that induce Apple’s
 6   customers to use Apple’s devices in their normal and customary way to infringe the ’761
 7   patent.11 Through its manufacture and sales of its devices, Apple specifically intended its
 8   customers to infringe the ’761 patent. Further, Apple was aware that these normal and
 9   customary activities when undertaken by its customer would result in a direct
10   infringement of the ’761 patent. Apple performed the acts that constitute induced
11   infringement, and that would induce actual infringement, with the knowledge of the ’761
12   patent and with the knowledge or willful blindness that the induced acts would constitute
13   direct infringement.
14         112. Accordingly, a reasonable inference is that Apple specifically intends for
15   others, such as its customers, to directly infringe one or more claims of the ’761 patent in
16   the United States because Apple has knowledge of the ’761 patent and Apple actively
17   induces others (i.e. its customers) to directly infringe the ’761 patent by using, selling, or
18   offering to sell Apple’s devices.
19         113. Apple has been and is now indirectly infringing at least one claim of the ’761
20   patent in accordance with 35 U.S.C. § 271(c) in this district and elsewhere in the United
21   States. More specifically, Apple has been and is now providing non-staple articles of
22

23   11
        See, e.g., Apple’s website for the iPhone, https://www.apple.com/iphone/compare/
24   (instructing use on 4G LTE networks); iPhone User Guide For iOS 7.1 Software,
     http://manuals.info.apple.com/MANUALS/1000/MA1565/en_US/iphone_user_guide.pdf
25   (instructing use on 4G LTE networks); iPhone User Guide For iOS 6.1 Software,
     http://manuals.info.apple.com/MANUALS/1000/MA1658/en_US/iphone_ios6_user_guid
26   e.pdf (instructing use on 4G LTE networks); Apple’s website for the iPad,
     https://www.apple.com/ipad/compare/ (instructing use on 4G LTE networks); iPad User
27   Guide For iOS 7.1 Software,
     http://manuals.info.apple.com/MANUALS/1000/MA1595/en_US/ipad_user_guide.pdf
28   (instructing use on 4G LTE networks); http://support.apple.com/kb/ht4211 (instructing
     use of multitasking).
                                               29
                     DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.5011 Page 31 of 39



 1   commerce to others for use in an infringing system or method with knowledge of the ’761
 2   patent, and with knowledge that the use of its products results in a direct infringement of
 3   the ’761 patent by its customers, and with knowledge that these non-staple articles of
 4   commerce are used as a material part of the claimed invention of the ’761 patent.
 5         114. Apple’s devices include components comprising an application processor and
 6   a baseband processor designed to support communication of data in a 4G LTE-compliant
 7   network. These components are mounted to a circuit board in Apple’s accused devices
 8   and, absent these components, Apple’s accused devices would not function in an
 9   acceptable manner to send or receive data in a 4G LTE-compliant network. A reasonable
10   inference to be drawn from the facts set forth is that these components in Apple’s accused
11   devices are especially made or especially adapted to operate in a manner that results in a
12   direct infringement of the ’761 patent. Further, a reasonable inference to be drawn from
13   the facts is that the components are not a staple articles or commodities of commerce and
14   that the use of the components is required for the accused Apple devices to send or
15   receive data in a 4G LTE-compliant network. Any other use would be unusual, far-
16   fetched, illusory, occasional, aberrant, or experimental.
17         115. The components comprising an application processor and a baseband
18   processor in Apple’s accused devices are each a material part of the invention of the ’761
19   patent and are especially made or adapted to infringe the ’761 patent. Apple’s accused
20   devices products have no substantial uses that do not infringe the ’761 patent.
21         116. The ’761 patent is valid and enforceable.
22         117. By way of its infringing activities, Apple has caused and continues to cause
23   Wi-LAN to suffer damages, and Wi-LAN is entitled to recover from Apple damages in an
24   amount to be determined at trial.
25                        SIXTH COUNTERCLAIM: INFRINGEMENT OF
26                                       U.S. PATENT NO. 8,311,040
27         118. The allegations of all foregoing paragraphs are re-alleged as if fully set forth
28   herein.
                                               30
                     DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.5012 Page 32 of 39



 1         119. On November 13, 2012, the USPTO duly and legally issued U.S. Patent No.
 2   8,311,040 (the “’040 patent”), entitled “Packing source data packets into transporting
 3   packets with fragmentation” after a full and fair examination.
 4         120. The ’040 patent relates to, among other things, packet data communication
 5   systems, and reformatting data in such systems before transmitting the data through a link.
 6         121. Wi-LAN, Inc. is the sole owner of the ’040 patent. A true and correct copy of
 7   the ’040 patent is attached as Exhibit A.
 8         122. Apple has been and is now infringing, literally and/or under the doctrine of
 9   equivalents, the ’040 patent in this district and elsewhere by making, using, offering for
10   sale, importing, and/or selling, without authority from Wi-LAN, products that fall within
11   the scope of one or more of the claims of the ’040 patent.
12         123. Apple has had actual notice of the ’040 patent and that its actions constitute
13   direct and indirect infringement of the ’040 patent. Apple has had knowledge of the ’040
14   patent since June 2012, when Wi-LAN approached Apple about entering into a licensing
15   agreement. Wi-LAN filed suit against Apple asserting the ’040 patent on December 6,
16   2012. Wi-LAN USA, Inc. et al v. Apple Inc., No. 13-cv-798 DMS(BLM) (S.D. Cal. Dec. 6,
17   2012) (the “First Action”).
18         124. Apple has been and is now indirectly infringing at least one claim of the ’040
19   patent in accordance with 35 U.S.C. § 271(b) in this district and elsewhere in the United
20   States. More specifically, Apple has been and is now actively inducing direct
21   infringement by other persons – i.e. Apple’s customers who use, sell or offer for sale
22   products that embody and/or otherwise practice one or more claims of the ’040 patent.
23   Apple had knowledge of the ’040 patent by others, and that its actions resulted in a direct
24   infringement of the ’040 patent, prior to the filing of this complaint, and knew or was
25   willfully blind that its actions would induce direct infringement by others and intended
26   that its actions would induce direct infringement by others.
27         125. Apple actively induces such infringement by, among other things, providing
28   user manuals and other instruction material for Apple’s devices that induce Apple’s
                                               31
                     DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.5013 Page 33 of 39



 1   customers to use Apple’s devices in their normal and customary way to infringe the ’040
 2   patent. 12 Through its manufacture and sales of its devices, Apple specifically intended its
 3   customers to infringe the ’040 patent. Further, Apple was aware that these normal and
 4   customary activities when undertaken by its customer would result in a direct
 5   infringement of the ’040 patent. Apple performed the acts that constitute induced
 6   infringement, and that would induce actual infringement, with the knowledge of the ’040
 7   patent and with the knowledge or willful blindness that the induced acts would constitute
 8   direct infringement.
 9         126. Accordingly, a reasonable inference is that Apple specifically intends for
10   others, such as its customers, to directly infringe one or more claims of the ’040 patent in
11   the United States because Apple has knowledge of the ’040 patent and Apple actively
12   induces others (i.e. its customers) to directly infringe the ’040 patent by using, selling, or
13   offering to sell Apple’s devices.
14         127. Apple has been and is now indirectly infringing at least one claim of the ’040
15   patent in accordance with 35 U.S.C. § 271(c) in this district and elsewhere in the United
16   States. More specifically, Apple has been and is now providing non-staple articles of
17   commerce to others for use in an infringing system or method with knowledge of the ’040
18   patent, and with knowledge that the use of its products results in a direct infringement of
19   the ’040 patent by its customers, and with knowledge that these non-staple articles of
20   commerce are used as a material part of the claimed invention of the ’040 patent.
21

22

23   12
        See, e.g., Apple’s website for the iPhone, https://www.apple.com/iphone/compare/
24   (instructing use on 4G LTE networks); iPhone User Guide For iOS 7.1 Software,
     http://manuals.info.apple.com/MANUALS/1000/MA1565/en_US/iphone_user_guide.pdf
25   (instructing use on 4G LTE networks); iPhone User Guide For iOS 6.1 Software,
     http://manuals.info.apple.com/MANUALS/1000/MA1658/en_US/iphone_ios6_user_guid
26   e.pdf (instructing use on 4G LTE networks); Apple’s website for the iPad,
     https://www.apple.com/ipad/compare/ (instructing use on 4G LTE networks); iPad User
27   Guide For iOS 7.1 Software,
     http://manuals.info.apple.com/MANUALS/1000/MA1595/en_US/ipad_user_guide.pdf
28   (instructing use on 4G LTE networks); http://support.apple.com/kb/ht4211 (instructing
     use of multitasking).
                                               32
                     DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.5014 Page 34 of 39



 1         128. Apple’s devices include components comprising an application processor and
 2   a baseband processor designed to support communication of data in a 4G LTE-compliant
 3   network. These components are mounted to a circuit board in Apple’s accused devices
 4   and, absent these components, Apple’s accused devices would not function in an
 5   acceptable manner to send or receive data in a 4G LTE-compliant network. A reasonable
 6   inference to be drawn from the facts set forth is that these components in Apple’s accused
 7   devices are especially made or especially adapted to operate in a manner that results in a
 8   direct infringement of the ’040 patent. Further, a reasonable inference to be drawn from
 9   the facts is that the components are not a staple articles or commodities of commerce and
10   that the use of the components is required for the accused Apple devices to send or
11   receive data in a 4G LTE-compliant network. Any other use would be unusual, far-
12   fetched, illusory, occasional, aberrant, or experimental.
13         129. The components comprising an application processor and a baseband
14   processor in Apple’s accused devices are each a material part of the invention of the ’040
15   patent and are especially made or adapted to infringe the ’040 patent. Apple’s accused
16   devices products have no substantial uses that do not infringe the ’040 patent.
17         130. The ’040 patent is valid and enforceable.
18         131. By way of its infringing activities, Apple has caused and continues to cause
19   Wi-LAN to suffer damages, and Wi-LAN is entitled to recover from Apple damages in an
20   amount to be determined at trial.
21                                    WILLFUL INFRINGEMENT
22         132. The allegations of all foregoing paragraphs are re-alleged as fully set forth
23   herein.
24         133. Before initiating litigation, Wi-LAN made substantial efforts to license
25   Apple’s use of Wi-LAN’s advanced 4G technologies and patents used in Apple’s 4G LTE
26   mobile devices, expecting that Apple would proceed in good faith.
27         134. On June 16, 2014, Wi-LAN expressly provided notice to Apple that it
28   infringes the ’145, ’723, ’757, ’020, and ’761 patents. Wi-LAN provided detailed
                                               33
                     DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.5015 Page 35 of 39



 1   information concerning the pioneering nature of Ken Stanwood’s inventions that are
 2   claimed in these patents, and explained that these fundamental inventions, which are
 3   implemented in products compliant with the 4G LTE standard, enable advanced features
 4   of Apple’s 4G LTE mobile products.
 5         135. On June 17, 2014, Apple responded to Wi-LAN’s notice communication,
 6   admitting that it had not studied the ’145, ’723, ’757, ’020, and ’761 patents.
 7         136. Two days later, instead of following through on its commitment to meet in
 8   order to negotiate a license, Apple filed suit against Wi-LAN. Given that the inventions
 9   claimed in the ’145, ’723, ’757, ’020, and ’761 patents are fundamental to implementation
10   of products compliant with the 4G LTE standard, an objectively defined risk exists that
11   Apple infringes the patents-in-suit. Furthermore, upon information and belief, prior to
12   initiating suit against Wi-LAN, Apple did not conduct a reasonable investigation to
13   ascertain whether it infringes the patents-in-suit.
14         137. Apple has had knowledge of the ’040 patent since June 2012 by way of
15   information disclosed to Apple during licensing negotiations between Wi-LAN and
16   Apple, as alleged in Wi-LAN’s First Amended Complaint in the First Action. First
17   Action, Dkt. 34 at 4. At the very latest, Apple has had actual knowledge of the ’040 patent
18   since December 6, 2012, when Wi-LAN asserted the ’040 patent against Apple in the
19   First Action.
20         138. Apple’s infringement of the patents-in-suit thus occurs with knowledge of
21   and/or objective recklessness and has been and continues to be willful and deliberate.
22         139. Apple’s willful and deliberate infringement entitles Wi-LAN to enhanced
23   damages under 35 U.S.C. § 285.
24                                IRREPARABLE HARM TO WI-LAN
25         140. Wi-LAN has been irreparably harmed by Apple’s acts of infringement, and
26   will continue to be harmed unless and until Apple’s acts of infringement are enjoined by
27   this Court. Apple has no adequate remedy at law to redress Apple’s continuing acts of
28   infringement. The hardships that would be imposed upon Apple by an injunction are less
                                               34
                     DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.5016 Page 36 of 39



 1   than those faced by Wi-LAN should an injunction not issue. Furthermore, the public
 2   interest would be served by issuance of an injunction. As a result of Apple’s acts of
 3   infringement, Wi-LAN has suffered and will continue to suffer damages in an amount to
 4   be proved at trial.
 5                                        PRAYER FOR RELIEF
 6         WHEREFORE, Wi-LAN prays for judgment against Apple as follows:
 7         141. Declaring that Apple has been and is now infringing, literally and/or under
 8   the doctrine of equivalents, one or more claims of each of U.S. Patent No. 8,457,145, U.S.
 9   Patent No. 8,462,723, U.S. Patent No. 8,537,757, U.S. Patent No. 8,615,020, U.S. Patent
10   No. 8,462,761, and U.S. Patent No. 8,311,040;
11         142. Declaring that Apple has been and is now contributorily infringing one or
12   more claims of each of U.S. Patent No. 8,457,145, U.S. Patent No. 8,462,723, U.S. Patent
13   No. 8,537,757, U.S. Patent No. 8,615,020, U.S. Patent No. 8,462,761, and U.S. Patent No.
14   8,311,040;
15         143. Declaring that Apple has been and is now inducing infringement of U.S.
16   Patent No. 8,457,145, U.S. Patent No. 8,462,723, U.S. Patent No. 8,537,757, U.S. Patent
17   No. 8,615,020, U.S. Patent No. 8,462,761, and U.S. Patent No. 8,311,040;
18         144. Permanently enjoining Apple and its officers, directors, agents, servants,
19   employees, affiliates, divisions, branches, subsidiaries, parents and all others acting in
20   concert or privity with any of them from infringing, inducing the infringement of, or
21   contributing to the infringement of one or more of each of U.S. Patent No. 8,457,145, U.S.
22   Patent No. 8,462,723, U.S. Patent No. 8,537,757, U.S. Patent No. 8,615,020, U.S. Patent
23   No. 8,462,761, and U.S. Patent No. 8,311,040;
24         145. Declaring that Apple’s infringement is willful and that this is an exceptional
25   case under 35 U.S.C. § 285 and awarding attorneys’ fees and costs in this action;
26         146. Awarding to Wi-LAN damages arising out of Apple’s infringement of one or
27   more of each of U.S. Patent No. 8,457,145, U.S. Patent No. 8,462,723, U.S. Patent No.
28   8,537,757, U.S. Patent No. 8,615,020, U.S. Patent No. 8,462,761, and U.S. Patent No.
                                               35
                     DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.5017 Page 37 of 39



 1   8,311,040 together with prejudgment and post-judgment interest, in an amount to be
 2   determined at trial;
 3          147. Awarding to Wi-LAN its costs in connection with this action; and
 4          148. Such other and further relief in law or in equity to which Wi-LAN may be
 5   justly entitled.
 6                                 DEMAND FOR JURY TRIAL
 7          149. Wi-LAN demands a trial by jury on all issues so triable.
 8

 9   Dated: August 15, 2017                             Respectfully submitted,
10

11                                              By:     /s/ Allison Goddard_______
12                                                    Allison H. Goddard (211098)
                                                        ali@pattersonlawgroup.com
13
                                                      PATTERSON LAW GROUP
14                                                    402 West Broadway, 29th Floor
                                                      San Diego, CA 92101
15                                                    (619) 398-4760
                                                      (619) 756-6991 (facsimile)
16

17                                                    Robert Cote
                                                        rcote@mckoolsmith.com
18                                                    Brett Cooper
19
                                                        bcooper@mckoolsmith.com
                                                      Jonathan Yim
20                                                      jyim@mckoolsmith.com
                                                      Kevin Schubert
21                                                     kschubert@mckoolsmith.com
22
                                                      McKOOL SMITH, P.C.
                                                      One Bryant Park, 47th Floor
23                                                    New York, NY 10036
                                                      (212) 402-9400
24                                                    (212) 402-9444 (facsimile)
25
                                                       Seth Hasenour
26                                                      shasenour@mckoolsmith.com
                                                       MCKOOL SMITH, P.C.
27                                                     300 W. 6th Street, Suite 1700
28                                                     Austin, TX 78701
                                                      (512) 692-8700
                                                  36
                        DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                                   Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.5018 Page 38 of 39



 1                                           (512) 692-8744 (facsimile)
 2                                           Attorneys for Defendant,
 3                                           Wi-LAN Inc.
 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                           37
                 DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                            Case No. 14cv2235-DMS-BLM
 Case 3:14-cv-02235-DMS-BLM Document 149 Filed 08/15/17 PageID.5019 Page 39 of 39



 1                               CERTIFICATE OF SERVICE
 2         I hereby certify that on August 15, 2017, a true and correct copy of DEFENDANT
 3   WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS was
 4   filed through the Court’s CM/ECF system, and was served through that system under Fed.
 5   R. Civ. P. 5(b)(2)(E) on all counsel who are deemed to have consented to electronic
 6   service.
 7

 8   Dated: August 15, 2017                      By:   /s/ Allison Goddard_____
 9                                                     Allison H. Goddard (211098)
10
                                                         ali@pattersonlawgroup.com
                                                        PATTERSON LAW GROUP
11                                                     402 West Broadway, 29th Floor
                                                        San Diego, CA 92101
12                                                     (619) 398-4760
13                                                     (619) 756-6991 (facsimile)

14                                                     Attorneys for Defendant,
                                                       Wi-LAN Inc.
15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                              38
                    DEFENDANT WI-LAN INC.’S SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                               Case No. 14cv2235-DMS-BLM
